                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
              v.                           )       No. 3:07-00159
                                           )       JUDGE CRENSHAW
JAMES McWHORTER                            )


                               NOTICE OF APPEARANCE

       Comes undersigned counsel, Michael C. Holley, Assistant Federal Public

Defender, and hereby gives notice of his appearance as attorney of record in the above-

styled cause and requests that all documents filed from this date forward be served

upon him.

                                           Respectfully submitted,

                                           s/ Michael C. Holley
                                           MICHAEL C. HOLLEY (BPR # 021885)
                                           Assistant Federal Public Defender
                                           810 Broadway, Suite 200
                                           Nashville, Tennessee 37203
                                           (615) 736-5047

                                           Attorney for James McWhorter

                               CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2017, I electronically filed the foregoing Notice of
Appearance with the U.S. District Court Clerk by using the CM/ECF system, which will send a
Notice of Electronic Filing to the following: S. Carran Daughtrey, Assistant United States
Attorney, 110 Ninth Avenue South, Suite A961, Nashville, TN 37203.


                                           s/ Michael C. Holley
                                           MICHAEL C. HOLLEY




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